Case 3:22-cv-00410-REP Document 13 Filed 11/14/22 Page 1 of 1 PagelD# 135

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA

APPLICATION TO QUALIFY AS A FOREIGN ATTORNEY UNDER LOCAL CIVIL RULE 83.1(D) AND LOCAL
CRIMINAL RULE 57.4
In Case Number3:22-cv-00410 . Case Name Fraser v. Bureau of ATF, et al.
Party Represented by Applicant: Bureau of ATF; Marvin Richardson; Merrick Garland

 

 

To: The Honorable Judges of the United States District Court for the Eastern District of Virginia

 

 

 

PERSONAL STATEMENT
FULL NAME (no initials, please) Michael Patrick Clendenen
Bar Identification Number 1660091 State D.C.
Firm Name U-S. Department of Justice
Firm Phone # 202-305-0693 Direct Dial #202-305-0693 FAN # 202-616-8460

 

 

 

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Name(s) of federal district court(s) in which I have been admitted 00:0 Az. MDFla.WD La.ED Mich OND: SD. Ohio,D Or:ND. Tex.NO Ala

I certify that the rules of the federal court in the district in which I maintain my office extend a similar pro hac vice admission
privilege to members of the bar of the Eastern District of Virginia.

I have not been reprimanded in any court nor has there been any action im any court pertaining to my conduct or fitness as a
member of the bar.

I hereby certify that, within ninety (90) days before the submission of this application, I have read the Local Rules of this Court
and that my knowledge of the Federal Rules of Civil Procedure, the Federal Rules of Criminal Procedure, and the Federal Rules of
Evidence is current.

I am [Mi] am not [_Ja full-time employee of the United States of America, and if so, request exemption from the admission fee.

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OS A” (CZF.

(Applicant’s Signature)

 

I, the undersigned, do certify that I am a member of the bar of this Court, not related to the applicant; that I know the applicant
personally, that the said applicant possesses all of the qualifications required for admission to the bar of this Court; that I have
examined the applicant’s personal statement. I affirm that his/her personal and professional character and standing are good, and
petition the court to admit the applicant pro hac vice.

Lax Uh, Trcataadt Nov. 14, 2022

 

 

(enature) (Date)
onathan H. Hambrick 37590
(Typed or Printed Name} (VA Bar Number)

 

Court Use Only:
Clerk’s Fee Paid [| or Exemption Granted (]

The motion for admission is GRANTED [_] or DENIED [_]

 

 

(Judge’s Signature) (Date)
